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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

____________________________________
                                              )
DAMON IMMEDIATO, STEPHEN                      )
LEVINE, and ERIC WICKBERG,                    )
on behalf of themselves and all others        )
similarly situated,                           )
                          Plaintiffs,         )       C. A. No. 1:20-CV-12308-RGS
                                              )
v.                                            )
                                              )
POSTMATES, INC.,                              )
                           Defendant.         )
                                              )

                    PLAINTIFFS’ MOTION TO LIFT THE STAY AND
                         CONFIRM ARBITRATION AWARDS

       Plaintiffs Damon Immediato, Stephen Levine, and Eric Wickberg (“Plaintiffs”) hereby

move to confirm the arbitration awards they obtained in connection with their claims of

independent contractor misclassification against Defendant Postmates, Inc. (“Postmates”).

       On March 4, 2021, the Court granted (over Plaintiffs’ opposition) Postmates’ Motion to

Compel Arbitration and Stay Proceedings Pending Arbitration. See Dkt. 24. Pursuant to the

Court’s order, each Plaintiff initiated an individual arbitration proceeding against Postmates with

the American Arbitration Association (“AAA”). In all three arbitration cases, Postmates made

an offer of judgment pursuant to Fed. R. Civ. P. 68; all three Plaintiffs accepted the offer. Each

arbitrator subsequently entered a final order. See Immediato v. Postmates, Inc., AAA Case No.

01-21-0002-4441, Award, November 8, 2021 (attached as Exhibit A); Levine v. Postmates, Inc.,

AAA Case No. 01-21-0002-4444, Amended Judgment on Claims, October 12, 2021 (attached as




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Exhibit B); Wickberg v. Postmates, Inc., AAA Case No. 01-21-0002-4445, Final Order of

Judgment, October 21, 2021 (attached as Exhibit C).

       Plaintiffs now move to lift the pending stay and to confirm their awards. These final

arbitration orders are judgments. See LaPierre v. City of Lawrence, 819 F.3d 558, 562 (1st Cir.

2016) (“[C]ourts must enter judgment on an accepted Rule 68 offer of judgment once it has been

filed with the court…”). They are therefore confirmable under the Federal Arbitration Act,

which provides that a court “must grant” a timely request for an order confirming an arbitration

award. See 9 U.S.C. § 9. “Upon receipt of such an application, unless the court vacates,

modifies, or corrects the arbitration award pursuant to 9 U.S.C. §§ 10-11, it must confirm the

award.” Ebbe v. Concorde Inv. Servs., LLC, 392 F. Supp. 3d 228, 235 (D. Mass. 2019), aff'd on

other grounds, 953 F.3d 172 (1st Cir. 2020) (citing Ortiz-Espinosa v. BBVA Sec. of P.R., Inc.,

852 F.3d 36, 42 (1st Cir. 2017)). See also Teamsters Local 177 v. United Parcel Service, 966

F.3d 245, 248 (3d. Cir. 2020) (“The FAA not only authorizes, but mandates, that district courts

confirm arbitration awards by converting them into enforceable judgments through a summary

proceeding.”).

       Accordingly, Plaintiffs respectfully request that the Court lift the stay and confirm the

attached arbitration awards, pursuant to 9 U.S.C. § 9.




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Dated:     November 12, 2021                   Respectfully submitted,
                                               DAMON IMMEDIATO, STEPHEN LEVINE, and
                                               ERIC WICKBERG, on behalf of themselves and all
                                               others similarly situated,
                                               By their attorneys,
                                               /s/ Shannon Liss-Riordan
                                               Shannon Liss-Riordan, BBO #640716
                                               Michelle Cassorla, BBO #688429
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                                               mcassorla@llrlaw.com




                              LOCAL RULE 7.1 CERTIFICATION

         I, Shannon Liss-Riordan, counsel for Plaintiffs, hereby certify that I conferred with

counsel for Defendant by email between November 3-11, 2021, but the parties have been unable

to resolve or narrow the issues presented by this motion.

                                               /s/ Shannon Liss-Riordan
                                               Shannon Liss-Riordan



                                  CERTIFICATE OF SERVICE

         This will certify that I served a copy of the foregoing document on all counsel, by ECF,

on this date.


Dated: November 12, 2021

                                               /s/ Shannon Liss-Riordan
                                               Shannon Liss-Riordan



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